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            EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

  WSOU INVESTMENTS, LLC d/b/a                  §
  BRAZOS LICENSING AND                         §
  DEVELOPMENT,                                 §   CIVIL ACTION 6:20-CV-00571-ADA
                                               §   CIVIL ACTION 6:20-CV-00572-ADA
          Plaintiff,                           §   CIVIL ACTION 6:20-CV-00573-ADA
                                               §   CIVIL ACTION 6:20-CV-00575-ADA
                                               §   CIVIL ACTION 6:20-CV-00576-ADA
  v.                                           §   CIVIL ACTION 6:20-CV-00579-ADA
                                               §   CIVIL ACTION 6:20-CV-00580-ADA
                                               §   CIVIL ACTION 6:20-CV-00583-ADA
                                               §   CIVIL ACTION 6:20-CV-00584-ADA
  GOOGLE LLC,                                  §   CIVIL ACTION 6:20-CV-00585-ADA
                                               §
         Defendant.                            §


                        WSOU INVESTMENTS, LLC’S THIRD SET OF
                       INTERROGATORIES TO DEFENDANT GOOGLE

        Pursuant to Federal Rules of Civil Procedure 26 and 34, Plaintiff WSOU Investments, LLC
(“WSOU”) requests that Defendant Google answer each of the following Interrogatories under
oath in the manner and within the time prescribed by law.

                                        DEFINITIONS

       1.      The terms “DEFENDANT,” “YOUR,” and “YOU” as used herein shall refer to
Defendant Google LLC, as well as any parent, subsidiary, division, or related company, any
business entity controlled by or operated on behalf thereof, any predecessors thereof, and any and
all agents, directors, owners, officers, attorneys, employees, representatives, subcontractors,
and/or any PERSON acting on its behalf.

       2.      The term “PLAINTIFF” as used herein shall refer to Plaintiff WSOU Investments,
LLC d/b/a Brazos Licensing, as well as any parent, subsidiary, division, or related company, any
business entity controlled by or operated on behalf thereof, any predecessors thereof, and any and
all agents, directors, owners, officers, attorneys, employees, representatives, subcontractors,
and/or any PERSON acting on their behalf.

        3.      The phrase “ACCUSED INSTRUMENTALITY” refers to the instrumentalities
identified in the complaint (as may be amended) as well as the infringement contentions served in
this case (as may be amended).




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       4.        The term “PATENT-IN-SUIT” as used herein means the patent asserted in the
present litigation.

       5.      The phrase “PRIOR ART” as used herein means any printed publication, any public
use, any public knowledge, any sale, or any patent for sale anywhere in the world which YOU
believe may be material to the validity of the PATENT-IN-SUIT.

        6.     The term “COMMUNICATION” as used herein means the transmittal of
information in the form of facts, ideas, inquiries, or otherwise, in any form, including without
limitation personal, written, e-mail, facsimile, and telex.

         7.      The term “DOCUMENT” as used herein (whether in the plural or singular) means
any writing or other tangible thing from which data or information can be obtained (translated if
necessary through detection devices into reasonably usable form), and which is known to YOU,
or in YOUR custody, possession, or control, whether printed, recorded, reproduced by any process,
or written or produced by hand, whether or not claimed to be privileged or exempt from production
for any reason. Writings and tangible things that are included within this definition encompass
letters, correspondence, electronic mail messages (in electronic or hard copy form), videos,
presentations (including any corresponding deck of slides), tape recordings, reports, agreements,
communications including intercompany communications, telegrams, memoranda, summaries,
forecasts, photographs, models, wiki repositories, version control documentation on code (e.g.,
Perforce or the like), statistical statements, graphs, laboratory and engineering reports and
notebooks, calendars, day-planners, electronic information within handheld organizing devices,
charts, plans, manuals, operational guidelines, maintenance schedules, CAD/CAM files,
specifications, test scripts, manuals, web pages, drawings, diagrams, minutes of records of
meetings or conferences, expressions or statements of policy, lists of persons attending meetings
or conferences, customer lists, reports and/or summaries of interviews, reports and/or summaries
or investigations, opinions or reports of consultants, appraisals, records, reports or summaries of
negotiations, brochures, pamphlets, advertisements, circulars, trade letters, press releases, drafts
of any DOCUMENTS, revisions of drafts of any DOCUMENTS, cancelled checks, bank
statements, invoices, receipts and originals of promissory notes, surveys, computer printouts,
computer disks, photostats, motion pictures, slides, and sketches. The foregoing list is not an
exclusive definition but is intended to aid YOU in producing the DOCUMENTS. In addition to
the items listed above, any comment or notation appearing on any document, and not part of the
original text, is considered a separate document and any draft of preliminary form of any document
is also considered a separate document.

       8.     As used herein, the singular form shall include the plural, and vice versa, wherever
such dual construction will serve to bring within the scope of this request any DOCUMENTS
which would otherwise not be brought within its scope.

        9.      As used herein, the conjunctives “and” and “or” shall be construed both
conjunctively and disjunctively, and each shall include the other wherever such dual construction
will serve to bring within the scope of this request any DOCUMENTS which would otherwise not
be brought within its scope.



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        10.     The term “IDENTIFY” or “IDENTITY” when used with reference to a
“DOCUMENT” means to provide with respect to each document requested to be identified by
these interrogatories or are mentioned or referred to in any of your answers to these interrogatories,
the following information: its nature, e.g., letter, memorandum, etc.; the date it was sent; the date
it was received; the identity of the person sending it; the identity of the person to whom it was
sent; the identity of the person or persons to whom a copy or copies were sent; a statement as to
who each such person represented or purported to represent; statement of the substance of the
subject matter of the document; and the name and last known address of the person who presently
has custody of the document and each non-conforming copy.

        11.     The term “IDENTIFY” or “IDENTITY” when used with reference to a “person”
means to state the person’s full name and last known business and residence address and telephone
number and, where appropriate, the person’s title and occupation at the present time and at the
time stated in the interrogatory or response thereto as well as the date ranges the person provided
services to YOU and in what capacity, if relevant.

        12.     The term “IDENTIFY” or “IDENTITY” when used with reference to
“COMMUNICATION” means with respect to each oral communication requested to be identified
by any of these interrogatories, or mentioned or referred to in any of your answers to any of these
interrogatories to: state the date and place of the communication and whether it was in person or
by telephone; identify, in a manner described above, each and every person who participated in,
heard any part of, or in any way has knowledge or information concerning such communication;
state what was said by each person who participated in such communication; and identify, in the
manner described, each and every DOCUMENT that recorded, summarized, confirmed, referred
to or pertained to such COMMUNICATION.

       13.    The term “STATE ALL FACTS” means that YOU are to provide a full and
complete statement of all facts relating to the subject matter of the Interrogatory, including the
IDENTITY of any individual or witness having knowledge of any such fact, including their last
known address and phone number and the IDENTITY of any DOCUMENT that refers, relates, or
evidences any such fact.

                                         INSTRUCTIONS

        1.     The following Interrogatories are being served in accordance with Rule 33 of
Federal Rules of Civil Procedure. Each Interrogatory must be answered in full after a diligent
search has been made to locate all the requested information. This search includes examination of
all DOCUMENTS, as well as other information possessed by DEFENDANT, its attorneys,
accountants, investigators, bankers, agents, employees, subsidiaries, divisions, representatives, or
other persons acting on its behalf or under its control. If YOU are unable to answer any
Interrogatory fully and completely after exercising due diligence to secure the requested
information, please so state and answer the Interrogatory to the extent that YOU are able. As to
each incomplete answer, specify the portion of the Interrogatory that YOU claim YOU are unable
to answer fully and completely, state the facts which support YOUR contention that YOU are
unable to answer that Interrogatory fully and completely, and state what knowledge, information,
and belief YOU have concerning the unanswered portion of each such Interrogatory.


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         2.     If information concerning any DOCUMENT requested to be identified herein is
withheld by YOU based upon a claim of privilege, state as to each such DOCUMENT: The
privilege asserted and its basis; the nature of the DOCUMENT withheld (e.g., letter memorandum,
etc.); the date of the DOCUMENT; the identity of the author and his/her relationship to YOU at
the time of the document’s creation; the identity of each recipient of the DOCUMENT or any copy
thereof; the length of the DOCUMENT and pages and his/her relationship to YOU at the time of
the document’s creation; the location of the original and each copy of the DOCUMENT; and the
general subject matter of the DOCUMENT.

        3.      If information concerning any COMMUNICATION is withheld by you based on a
claim of privilege, state as to each such COMMUNICATION: The privileges asserted and its basis;
whether the COMMUNICATION was in person or by telephone; the date of the
COMMUNICATION; the IDENTITY of the participants in a COMMUNICATION, all other
persons present, all persons having knowledge or information concerning the
COMMUNICATION; the IDENTITY of each DOCUMENT reflecting or pertaining, relating or
referring to the COMMUNICATION; and the general subject matter of the COMMUNICATION.

       4.    Each Interrogatory is a continuing one and requires a further and/or supplemental
response whenever a previous response becomes incomplete or inaccurate.

        5.      Unless stated otherwise, either in the Interrogatory itself or included within a
particular definition, these Interrogatories are not limited to any particular time frame.

       6.       The Federal Rules of Civil Procedure place an affirmative duty to supplement these
responses with (1) the IDENTITY and location of persons having knowledge of discoverable
matters; and (2) the IDENTITY of each person expected to be called as an expert witness at trial,
the subject matter on which the person is expected to testify, and the substance of the person’s
testimony, in addition to any subsequently discovered information that makes a prior response
incorrect, or any other circumstances where failing to amend the response constitutes a knowing
concealment.

                                     INTERROGATORIES

       INTERROGATORY NO. 10: Identify all instances where Google has made or used (e.g., by

testing or demonstrating) any ACCUSED INSTRUMENTALITY in the United States, and

describe in detail the manner of such activity, including the approximate date(s) such activity took

place and who conducted or was present during such activity.

       RESPONSE:




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       INTERROGATORY NO. 11: If any ACCUSED INSTRUMENTALITY has been or will be

designed, redesigned, altered, modified or changed in an effort to avoid infringement of any

asserted claim, describe in detail the nature of that design, redesign, alteration, modification or

change, explain in detail how such design, redesign, alteration, modification or change results in

non-infringement of each asserted claim, including but not limited to identifying the specific claim

limitation or limitations not practiced because of the change and state when the change was

implemented in terms of both the date of the change and the version of the ACCUSED

INSTRUMENTALITY that includes the change, identify all documents concerning that design,

redesign, alteration, modification or change, and identify the person or persons most

knowledgeable about the design, redesign, alteration, modification or change.

       RESPONSE:




       INTERROGATORY NO. 12: Describe in detail the complete legal and factual basis for each

defense plead in Google’s answer, including but not limited to: an identification of all facts

supporting or refuting Google’s defenses, all persons knowledgeable of these facts (including

every person whose knowledge or opinion is or was relied upon as a basis for Google’s defenses,

the opinion or substance of such person’s or persons’ knowledge, and the entire basis of that

knowledge or opinion), and all documents and things, including the Bates number(s) of such

documents and things, concerning Google’s defenses.

       RESPONSE:




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       INTERROGATORY NO. 13: For each version of the ACCUSED INSTRUMENTALITY,

please IDENTIFY all ways in which YOU derived or will derive monetary and/or non-monetary

benefits by including the ACCUSED INSTRUMENTALITY in YOUR products and/or

services along with any DOCUMENTS used to develop YOUR response. As a non-limiting

example, including an ACCUSED INSTRUMENTALITY in a product or service to match a

similar instrumentality in YOUR competitor’s product would be a benefit contemplated by this

interrogatory.

       RESPONSE:




       INTERROGATORY NO. 14: Describe in detail all facts relating to whether and how the

ACCUSED INSTRUMENTALITY is a driving force of sales, profitability, commercial success,

or popularity of the product and any collateral or convoyed sales or services, as well as cost savings

or other benefits for using the ACCUSED INSTRUMENTALITY, and all revenue associated with

collateral or convoyed sales or services.

       RESPONSE:




       INTERROGATORY NO. 15: STATE ALL FACTS that support Google’s contentions

concerning       the   smallest   saleable   and/or   manufacturing    unit   of   the   ACCUSED

INSTRUMENTALITY.




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Dated: September 15, 2021                           Respectfully Submitted,

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                                                    Counsel for Plaintiff WSOU Investments,
                                                    LLC

                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served via email to all counsel of
record on September 15, 2021.
                                                     /s/ Ryan S. Loveless
                                                     Ryan S. Loveless




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